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8                                      UNITED STATES DISTRICT COURT

9                                 CENTRAL DISTRICT OF CALIFORNIA

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11     SPENCER ELDEN,                            )   Case No. CV 21-6836 FMO (AGRx)
                                                 )
12                        Plaintiff,             )
                                                 )
13                  v.                           )   JUDGMENT
                                                 )
14     NIRVANA L.L.C., et al.,                   )
                                                 )
15                        Defendants.            )
                                                 )
16

17           IT IS ADJUDGED that the above-captioned action is dismissed with prejudice.

18     Dated this 2nd day of September, 2022.

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20                                                                     /s/
                                                                Fernando M. Olguin
21                                                           United States District Judge

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